              Case 3:15-cv-00143-SRW Document 9 Filed 04/30/15 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                              EASTERN DIVISION

STEPHANIE ROWELL,                            )
                                             )
                                             )
                       Plaintiff,            )
                                             )        CIVIL ACTION NO.
v.                                           )
                                             )        3:15-cv-00143-SRW
AFNI, INC.,                                  )
                                             )
                                             )
                       Defendant.

                           JOINT STIPULATION OF DISMISSAL

          COME NOW plaintiff Stephanie Rowell ("Plaintiff") and defendant Afni,

Inc. ("Defendant"), pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), and hereby jointly

stipulate that this action is dismissed, with prejudice, with the parties to bear their

own attorney's fees, costs and expenses.

          Pursuant to Rule II.C.3 of this Court's Administrative Procedures, Attorney

Alan D. Leeth certifies that he has the express permission and agreement of

counsel for Plaintiff to affix his respective electronic signature hereon and further

certifies that the Parties have agreed to the terms and conditions of this Joint

Stipulation of Dismissal.

          Dated this the 30th day of April, 2015.




23824921 v1
              Case 3:15-cv-00143-SRW Document 9 Filed 04/30/15 Page 2 of 2




                                         Respectfully submitted,


                                         s/ Charles M. Ingrum, Jr.
                                         Charles M. Ingrum, Jr.
                                         P.O. Box 229
                                         Opelika, Alabama 36803
                                         Telephone: (334) 745-3333
                                         Facsimile: (334) 745-3155
                                         cmi2@irplaw.com

                                         Attorney for Plaintiff
                                         STEPHANIE ROWELL



                                         s/ Alan D. Leeth
                                         Alan D. Leeth (LEE038)
                                         R. Frank Springfield (SPR024)
                                         BURR & FORMAN LLP
                                         420 North 20th Street, Suite 3400
                                         Birmingham, Alabama 35203
                                         Telephone: (205) 458-5187
                                         Facsimile: (205) 244-5707
                                         aleeth@burr.com
                                         fspringf@burr.com

                                         Attorneys for Defendant
                                         AFNI, INC.




23824921 v1                                2
